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           APPENDIX Q
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       429. As discussed below, Plaintiffs’ modeling data also establishes that the waves

crossing the MR-GO grew significantly due to the depth of the channel and its fetch. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) at ¶31.

Earlier Onset of Overtopping and Failure of LPV Structures and Longer Duration of
Flooding

       430. The severity of flooding in the populated areas was significantly dependent on

when the breaching of Reach 2 EBSBs began in the storm sequence—more flooding if earlier

(longer duration), less flooding if later (shorter duration). The adverse effects of the MR-GO

caused earlier breaching of the LPV structures and therefore earlier and greater flooding. Exh.

94, Kemp Expert Report (Jan. 2009) at p. 27.

       431. In flood control, timing is everything. Without the MR-GO’s negative effects, the

LPV structures would have survived the brief peak surge. If the EBSBs along Reach 2 could

have remained largely intact through the brief period of the highest surge, there would have been

no significant flooding of the protected areas. Exh. 74, Bea Expert Decl. No. 3 (July 2008) at pp.

150-52, ¶142; Exh. 91, Kemp Expert Report (July 2008) at pp. 125-33.

       432. Many EBSBs along Reach 2 failed before the peak surge largely because of wave

attacks and heightened surge caused by the MR-GO’s negative effects. As noted above:

       (a)     The loss of wetlands and vegetative cover eliminated a natural storm surge/wave

buffer. Exh. 81, Bea Expert Report (Jan. 2009) at p. 5, ¶3.

       (b)     The widened, deep channel enhanced wave heights and increased surge levels.

       (c)     The widened, deep channel encroached on the LPV structures and accelerated and

increased subsidence of LPV structures allowing subsurface soil under the LPV structures to

move laterally, thereby causing greater settlement of the crown and increasing crown exposure to

wave damage and overtopping and exacerbating flooding.



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Exh. 74, Bea Expert Decl. No. 3 (July 2008) at pp. 150-52, ¶142; Exh. 91, Kemp Expert Report

(July 2008) at pp. 125-33.

       433. The unmitigated channel geometry —along with the width and depth of Reach

1/GIWW—made for a highly efficient water delivery “funnel” which increased surge heights in

the areas of Reach 1/GIWW and the IHNC and caused earlier overtopping and failures of LPV

structures intended to protect New Orleans East, parts of St. Bernard Parish, and the Lower 9th

Ward. Exh. 91, Kemp Expert Report (July 2008) at pp. 148-84; Exh. 81, Bea Expert Report

(Jan. 2009) at pp. 3-20.

                                   COMPUTER MODELING

       434. The parties performed computer modeling in an effort to determine as best as

possible various aspects of the flooding during Hurricane Katrina, including but not limited to

sources of flood waters; surge height; wave height, fetch, and energy; onset and duration of

flooding; and other related matters.

       435. Having carefully reviewed the parties’ expert reports detailing their modeling

methods, data relied upon, assumptions, and findings as well as these experts’ trial testimony, the

Court finds the Plaintiffs’ experts’ conclusions are more persuasive and support the findings set

forth above about the impact of the MR-GO’s negative effects on the performance of the LPV

structures and cause of catastrophic floodoing during Katrina.

       436. As noted below, Defendant has criticized Plaintiffs’ flood modeling for several

reasons. The Court has carefully considered these critiques but has concluded that these

criticisms are not well founded.




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experts’ conclusion that it was the MR-GO’s (including Plaintiffs’ property) in its defective and

unmitigated condition that was the determinative factor in causing the catastrophic flooding of

New Orleans East, Lower 9th Ward, and St. Bernard Parish. Exh. 106, Vrijling Joint Decl. (Jan.

2009) at ¶4.

Plaintiffs’ Modeling Results

       444. Plaintiffs’ modeling results demonstrate that the MR-GO had a dramatic impact on

several critical storm parameters that caused catastrophic flooding, specifically when contrasting

the modeling results of Scenario 2c (Neutral MR-GO) with Scenario 1 (MR-GO As Was) shows:

       (a)      overtopping is reduced by 80% for all three polders that experienced catastrophic

flooding. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶22;

       (b)      surge discharge into the IHNC via Reach 1/GIWW decreased by 274%. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) at ¶21, Table 1;

       (c)      surge velocity diminishes by 246%. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at

¶21, Table 1;

       (d)      wave height is reduced by more than 50%. Exh. 93, Kemp Supp. Decl. (Oct.

2008) at ¶30(a);

       (e)      wave period plummets about 60%. Exh. 93, Kemp Supp. Decl. (Oct. 2008)

¶30(b); and

       (f)      wave energy eroding the EBSBs along Reach 2 dissipates by 300%. Exh. 93,

Kemp Supp. Decl. (Oct. 2008) ¶30(c).

       445. The reduction in protective wetlands (both in the Golden Triangle and Central

Wetlands Unit and immediately in front of the LPV structures) and increase in channel width had

demonstrable effects on flooding levels. Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19-27.




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       446. Waves generated by Katrina winds in Lake Borgne would have traversed a much

narrower channel and buffering wetlands and been greatly diminished before striking the Reach

2 embankments if the MR-GO had not eroded the channel banks and had not destroyed tens of

thousands of acres of wetlands due to construction, bank erosion, and saltwater intrusion. Exh.

93, Kemp Supp. Decl. (Oct. 2008) at ¶31.

       447. Plaintiffs’ experts’ data shows that the wider channel materially increased storm

surge intensity, time of breach/overtopping, overtopping rates, and duration of flooding. Exh.

93, Kemp Supp. Decl. (Oct. 2008) at ¶¶19-27.

       448. The geometry of the unmitigated “funnel” directly influenced surge discharge—

both in quantity and velocity—in Reach 1/GIWW and IHNC. Exh. 81, Bea Expert Report (Jan.

2009) at p. 6, ¶7; p. 12, Fig. 7; Exh. 91, Kemp Expert Report (July 2008) at Chapter 2, “Funnel

Geography, Terminology and Katrina Flood Damages.”

       449. The onset rate, and duration of overtopping—three critical storm parameters—are

significantly delayed without the MR-GO’s adverse effects, thereby dramatically reducing (and

averting catastrophic) flooding of Plaintiffs’ property. Exh. 74, Bea Expert Decl. No. 3 (July

2008) at pp. 150-52, ¶142; Exh. 91, Kemp Expert Report (July 2008) at pp. 125-33.

Defendant’s Experts Agree With Several Conclusions by Plaintiffs’ Experts

       450. Defendant’s expert’s (Westerink) modeling for Reach 1 and the IHNC shows

dramatic reductions of peak surge by up to 3.5 feet and duration by more than half associated

with returning Reach 1 to pre-MR-GO dimensions. (This is actually half a foot more reduction

than Plaintiffs’ experts showed with FINEL.) Thus, experts for both parties are in agreement

about the role the unmitigated “funnel effect” and enlarged GIWW in amplifying and prolonging

storm surge in Reach 1 and the IHNC and contributing to the early failure of floodwalls and




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